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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

SECURITIES AND EXCHANGE COMMISSION,             §
                                                §
                        Plaintiff,              §                     SECOND AMENDED
                                                §                       COMPLAINT
v.                                              §
                                                §                     Case No.: 3:09-cv-0298-N
                                                §
STANFORD INTERNATIONAL BANK, LTD.,              §
STANFORD GROUP COMPANY,                         §
STANFORD CAPITAL MANAGEMENT, LLC,               §
R. ALLEN STANFORD, JAMES M. DAVIS,              §
LAURA PENDERGEST-HOLT, GILBERTO LOPEZ, §
MARK KUHRT AND LEROY KING                       §
                                                §
                        Defendants,             §
 and                                            §
                                                §
STANFORD FINANCIAL GROUP COMPANY and §
THE STANFORD FINANCIAL GROUP BLDG INC., §
                                                §
                        Relief Defendants.      §
________________________________________________§

       Plaintiff Securities and Exchange Commission alleges:

                                           SUMMARY

       1.      For at least a decade, R. Allen Stanford and James M. Davis executed a massive

Ponzi scheme through entities under their control, including Stanford International Bank, Ltd.

(“SIB”) and its affiliated Houston-based broker-dealers and investment advisers, Stanford Group

Company (“SGC”) and Stanford Capital Management (“SCM”). Stanford and Davis, acting in

concert with the other defendants, misappropriated billions of dollars of investor funds and

falsified SIB’s financial statements in an effort to conceal their fraudulent conduct.

       2.       By year-end 2008, SIB had sold more than $7.2 billion of self-styled “certificates

of deposits” (the “CD”) by touting: (i) the bank’s safety and security; (ii) consistent, double-digit
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returns on the bank’s investment portfolio; and (iii) high return rates on the CD that greatly

exceeded those offered by commercial banks in the United States.

         3.       Contrary to SIB’s public statements, Stanford and Davis, by February 2009, had

misappropriated billions of dollars of investor money and “invested” an undetermined amount of

investor funds in speculative, unprofitable private businesses controlled by Stanford.

         4.       In an effort to conceal their fraudulent conduct and maintain the flow of investor

money into SIB’s coffers, Stanford and Davis fabricated the performance of the bank’s

investment portfolio and lied to investors about the nature and performance of the portfolio.

Gilberto Lopez and Mark Kuhrt, accountants for Stanford-affiliated companies, fabricated the

financial statements. Using a pre-determined return on investment number, typically provided

by Stanford or Davis, Lopez and Kuhrt reverse-engineered the bank’s financial statements to

report investment income that the bank did not actually earn. Information in SIB’s financial

statements and annual reports to investors about the bank’s investment portfolio bore no

relationship to the actual performance of the bank investments. SIB’s financial statements and

annual reports to investors were prepared, drafted and approved by Stanford, Davis, Lopez and

Kuhrt. Stanford and Davis signed these falsified financial statements.

         5.       Laura Pendergest-Holt, the chief investment officer of Stanford Financial Group

(“SFG”) and a member of SIB’s investment committee, facilitated the fraudulent scheme by

misrepresenting to investors that she managed SIB’s multi-billion investment portfolio of assets

and supervised a sizeable team of analysts to monitor the portfolio.

         6.       Leroy King, the administrator and chief executive officer of Antigua’s Financial

Services Regulatory Commission (the “FSRC”), facilitated the Ponzi scheme by ensuring that

the FSRC “looked the other way” and conducted sham audits and examinations of SIB’s books



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and records. In exchange for bribes paid to him over a period of several years, King made sure

that the FSRC did not examine SIB’s investment portfolio. King also provided Stanford with

access to the FSRC’s confidential regulatory files, including requests by the Commission for

assistance in investigating SIB as a possible Ponzi scheme.          King further obstructed the

Commission’s investigation by allowing Stanford to dictate the substance, and even content, of

the FSRC’s responses to the Commission that relayed false assurances that there was no cause

for concern as to SIB and by withholding information requested by the Commission that would

have revealed Stanford’s fraud.

         7.       In addition to sales of the CD, SGC and SCM advisers, since 2004, have sold more

than $1 billion of a proprietary mutual fund wrap program, called Stanford Allocation Strategy

(“SAS”), using materially false and misleading historical performance data. The false data enabled

SGC/SCM to grow the SAS program from less than $10 million in 2004 to over $1.2 billion in 2009

and generate fees for SGC/SCM (and ultimately Stanford) in excess of $25 million. The fraudulent

SAS performance results were also used to recruit registered financial advisers with significant

books of business, who were then heavily incentivized to re-allocate their clients’ assets to SIB’s

CD program.

         8.       By engaging in the conduct described in this Complaint, SIB, SGC, SCM,

Stanford, Davis, Pendergest-Holt, Lopez and Kuhrt directly or indirectly, singly or in concert,

engaged, and unless enjoined and restrained, will again engage in transactions acts, practices,

and courses of business that constitute violations of Section 17(a) of the Securities Act of 1933

(“Securities Act”) [15 U.S.C. § 77q(a)], and Section 10(b) of the Securities Exchange Act of

1934 (“Exchange Act”) [15 U.S.C. § 78j(b)], and Exchange Act Rule 10b-5 [17 C.F.R. §

240.10b-5] or, in the alternative, aided and abetted such violations.       Likewise, through his



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actions, King aided and abetted, and unless enjoined and restrained, will continue to aid and abet

violations of Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)], and Exchange Act Rule

10b-5 [17 C.F.R. § 240.10b-5]. In addition, through conduct described herein, Stanford, SGC,

and SCM violated Section 206(1) and (2) of the Investment Advisers Act of 1940 (“Adviser’s

Act”) [15 U.S.C. §§ 80b-6(1) and 80b-6(2)], and Stanford, Davis, Pendergest-Holt, Lopez,

Kuhrt, and King aided and abetted such violations. Finally, through their actions, SIB and SGC

violated Section 7(d) of the Investment Company Act of 1940 (“Investment Company Act”) [15

U.S.C. § 80a-7(d)].

                                       JURISDICTION AND VENUE

         9.       The investments offered and sold by the Defendants are “securities” under

Section 2(1) of the Securities Act [15 U.S.C. § 77b(1)], Section 3(a)(10) of the Exchange Act [15

U.S.C. § 78c(a)(10)], Section 2(36) of the Investment Company Act [15 U.S.C. § 80a-2(36)], and

Section 202(18) of the Advisers Act [15 U.S.C. § 80b-2(18)].

         10.      Plaintiff Commission brings this action under the authority conferred upon it by

Section 20(b) of the Securities Act [15 U.S.C. § 77t(b)], Section 21(d) of the Exchange Act [15

U.S.C. § 78u(d)], Section 41(d) of the Investment Company Act [15 U.S.C. § 80a-41(d)], and

Section 209(d) of the Advisers Act [15 U.S.C. § 80b-9(d)] to temporarily, preliminarily and

permanently enjoin Defendants from future violations of the federal securities laws.

         11.      This Court has jurisdiction over this action, and venue is proper, under Section

22(a) of the Securities Act [15 U.S.C. § 77v(a)], Section 27 of the Exchange Act [15 U.S.C. §

78aa], Section 43 of the Investment Company Act [15 U.S.C. § 80a-43] and Section 214 of the

Advisers Act [15 U.S.C. § 80b-14].

         12.      Defendants have, directly or indirectly, made use of the means or instruments of



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transportation and communication, and the means or instrumentalities of interstate commerce, or

of the mails, in connection with the transactions, acts, practices and courses of business alleged

herein. Certain of the transactions, acts, practices and courses of business occurred in the

Northern District of Texas.

                                                   DEFENDANTS

         13.      Stanford International Bank, Ltd. purports to be a private international bank

domiciled in St. John’s, Antigua, West Indies. SIB claims to serve 50,000 clients in over 100

countries, with assets of more than $7.2 billion. Unlike a commercial bank, SIB claims that it

does not loan money. SIB sells the CD to U.S. investors through SGC, its affiliated investment

adviser.

         14.      Stanford Group Company, a Houston-based corporation, is registered with the

Commission as a broker-dealer and investment adviser. It has 29 offices located throughout the

United States. SGC’s principal business consists of sales of SIB-issued securities, marketed as

certificates of deposit. SGC is a wholly owned subsidiary of Stanford Group Holdings, Inc.,

which in turn is owned by R. Allen Stanford.

         15.      Stanford Capital Management, a registered investment adviser, took over the

management of the SAS program (formerly Mutual Fund Partners) from SGC in early 2007.

SCM markets the SAS program through SGC.

         16.      R. Allen Stanford, a citizen of the U.S. and Antigua and Barbuda, West Indies, is

the chairman of the board and sole shareholder of SIB and the sole director of SGC’s parent

company. During the Commission’s investigation, Stanford refused to produce documents and

information accounting for the bank’s multi-billion dollar investment portfolio.




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         17.      James M. Davis, a U.S. citizen and resident of Baldwyn, Mississippi, is a director

and the chief financial officer of SFG and SIB. Davis maintains offices in Memphis, Tennessee,

and Tupelo, Mississippi. During the Commission’s investigation, Davis refused to provide

documents and information accounting for the bank’s multi-billion dollar investment portfolio.

         18.      Laura Pendergest-Holt, is the chief investment officer of SFG and a resident of

Baldwyn, Mississippi. She was appointed to SIB’s investment committee on December 7, 2005.

She supervises a group of analysts who “monitor” the performance of a small portion of SIB’s

portfolio.

         19.      Gilberto Lopez, a U.S. citizen and resident of Spring, Texas, worked in SFG’s

Houston, Texas, office, as the chief accounting officer of SFG and its affiliate, Stanford

Financial Group Global Management, LLC (“SFGGM”).                   In this capacity, he provided

accounting services to many entities under Stanford’s control, including SIB, SFG and SFGGM.

Lopez is not a CPA.

         20.      Mark Kuhrt, a U.S. citizen and resident of Christiansted, St. Croix, U.S. Virgin

Islands, is the global controller for SFGGM. In this capacity, he provided accounting services to

many entities under Stanford’s control, including SIB, SFG, and SFGGM. Kuhrt reported at

various times to Lopez and Davis, but also directly to Stanford. Kuhrt is not a CPA.

         21.      Leroy King, a citizen of the U.S. and of Antigua and Barbuda, West Indies, is the

administrator and chief executive officer of Antigua’s FSRC. Educated in the United States, he

maintains residences in Antigua and in Atlanta, Georgia, where his wife lives. King has over 20

years of experience in the United States banking industry. King also serves on the board of

directors of a U.S. registered broker-dealer and investment adviser based in Miami, Florida.




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                                           RELIEF DEFENDANTS

         22.      Stanford Financial Group Company, a Florida company owned and controlled by

Stanford, holds certain assets, including real estate, on behalf of Stanford and his affiliated

entities. SFG employees also provide accounting, legal, marketing and other services to many

entities under Stanford’s control, including SIB, SGC and SFGGM.

         23.      The Stanford Financial Group Building Inc., a Texas corporation owned and

controlled by Stanford, holds certain assets, including real estate, on behalf of Stanford and his

affiliated entities.

                                          STATEMENT OF FACTS

Stanford International Bank

         24.      Stanford controls dozens of companies that operate under the name Stanford

Financial Group. Stanford is the sole owner of SFG, SIB, SFGGM and dozens of other affiliated

companies.

         25.      SIB, one of SFG’s affiliates, is a private, offshore bank located in Antigua.

         26.      The primary product offered by SIB is a self-styled certificate of deposit. SIB

sold more than $1 billion of the CD per year between 2005 and 2008, including sales to U.S.

investors.

         27.      SIB marketed the CD to investors in the United States exclusively through SGC

advisers pursuant to a Regulation D private placement.              In connection with the private

placement, SIB filed several Forms D with the Commission.

         28.      SIB paid disproportionately large commissions to SGC as compensation for the

sale of the CD. SGC received a 3% trailing fee from SIB on sales of the CD by SGC advisers.




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SGC advisers received a 1% commission upon the sale of the CD, and were eligible to receive as

much as a 1% trailing commission throughout the term of the CD.

         29.      SGC used this generous commission structure to recruit established financial

advisers.      The commission structure also provided a powerful incentive for SGC financial

advisers to aggressively sell CDs to investors.

         30.      In 2007, SIB paid SGC and its affiliates more than $291 million in management

fees and CD commissions, up from $211 million in 2006.

         31.      SIB aggregated customer deposits, and then purportedly reinvested those funds in

a “globally diversified portfolio” of assets.        As of November 28, 2008, SIB reported

approximately $8.6 billion in total assets and an investment portfolio in excess of $8.4 billion.

         32.      In selling the CD, SIB told investors that: (i) their assets were safe and secure

because the bank invested in a “globally diversified portfolio” of “marketable securities;” (ii) the

bank had averaged double-digits returns on its investments for over 15 years; (iii) Stanford had

solidified SIB’s capital position in late 2008 by infusing $541 million in capital into the bank;

(iv) the bank’s multi-billion dollar portfolio was managed by a “global network of portfolio

managers” and “monitored” by a team of SFG analysts in Memphis, Tennessee; (v) the bank, in

early 2009, was stronger than at any time in its history; and (vi) the bank did not have exposure

to losses from investments in the Madoff fraud scheme. These representations were false.

SIB’s Fraudulent Sale of CDs

               Misappropriation of Investor Funds and Undisclosed Private-Equity Investments

         33.      In selling the CD to investors, SIB touted, among other things, the CD’s safety,

security and liquidity.




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         34.      In its CD marketing brochure, SIB told investors, under the heading “Depositor

Security,” that its investment philosophy is “anchored in time-proven conservative criteria,

promoting stability in [the bank’s] certificate of deposit.” SIB also emphasized that its “prudent

approach and methodology translate into deposit security for our customers” and the importance

of investing in “marketable” securities, saying that “maintaining the highest degree of liquidity”

was a “protective factor for our depositors.”

         35.      In its 2006 and 2007 Annual Reports, SIB told investors that the bank’s assets

were invested in a “well-balanced global portfolio of marketable financial instruments, namely

U.S. and international securities and fiduciary placements.” More specifically, as seen below,

SIB represented that its year-end 2007 portfolio allocation was 58.6% equity, 18.6% fixed

income, 7.2% precious metals and 15.6% alternative investments:




         36.      Consistent with its Annual Reports and brochures, SIB trained SGC financial

advisers, in February 2008, that the “liquidity/marketability of SIB’s invested assets” was the

“most important factor to provide security to SIB clients.”

         37.      SIB’s annual reports also represented that “SIB does not expose its clients to the

risks associated with commercial loans . . . the Bank’s only lending is on a cash secured basis.”


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         38.      Stanford and Davis approved and/or signed the Annual Reports, brochure and

training materials.

         39.      Contrary to SIB’s representations regarding the liquidity and safety of its

portfolio, investors’ funds were not invested in a “well-diversified portfolio of highly marketable

securities.” Instead, Stanford misappropriated a significant portion of the bank’s investment

portfolio. And SIB internal records reflect that more than half of the bank’s investment portfolio

was comprised of undisclosed “Private Equity Real Estate.”

         40.      By year-end 2008, Stanford had misappropriated more than $1.6 billion from SIB.

To conceal the theft, some of the transfers of CD investor money to Stanford were documented,

after the fact, as personal “loans.” Stanford’s signature appears on at least $720 million in

promissory notes to SIB that were recovered from his personal accountant’s office, including

promissory notes dated December 31, 1999, December 31, 2000, December 31, 2001, December

31, 2002 and December 31, 2003. Other “loans,” particularly those in more recent years, were

tracked in internal accounting records.

         41.      These promissory notes were typically created after Davis had, at Stanford’s

direction, wired out billions dollars of SIB investor funds to Stanford or his designees. Stanford

used the money to, among other things, fund his “personal playground,” including more than

$400 million to fund personal real estate deals (e.g., The Sticky Wicket Restaurant) and more

than $36 million to subsidize Stanford 20/20, an annual cricket tournament boasting a $20

million purse.

         42.      Lopez and Kuhrt (in addition to Stanford and Davis) were well aware of the more

than $1.6 billion in “loans” to Stanford, tracking many of the transfers in a spreadsheet entitled

“Shareholder Funding, Assumption of Debt and Notes Payable.” Stanford made few, if any,



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payments required by the terms of the promissory notes. Instead, Stanford and Davis frequently

rolled the outstanding loan balances and interest owed by Stanford to SIB into new, larger

promissory notes.

         43.      Between February 2 and February 8, 2009, Stanford and Davis participated in

meetings with a core group of senior executives in Miami, Florida for the purpose of preparing

Pendergest-Holt and SIB’s president for sworn testimony before the Commission staff. During

these meetings, Stanford and Davis admitted that they had misappropriated investor funds by

making these putative loans to Stanford.

         44.      During the Miami meetings, Davis and Pendergest-Holt collaborated on a

presentation that included a pie chart detailing the allocation of assets in SIB’s investment

portfolio. The pie chart reflected, among other things, that SIB’s investment portfolio was

primarily comprised of (grossly over-valued) real estate (50.7%) and promissory notes payable

by Stanford (29.47%).

         45.      Four days after the Miami meetings, Pendergest-Holt made a two-hour

presentation to the Commission’s staff – and subsequently testified under oath – regarding the

whereabouts of SIB’s multi-billion dollar investment portfolio. During her presentation and

testimony, Pendergest-Holt denied any knowledge concerning the allocation of the vast majority

of the bank’s assets, despite knowing that more than 80% of SIB’s investment portfolio was

comprised of undisclosed personal “loans” to Stanford, undisclosed private equity and real estate

deals.

         46.      The personal “loans” to Stanford were inconsistent with representations that had

been made to investors. SIB’s annual reports included a section entitled “Related-Party

Transactions” that purported to disclose all related party transactions entered into by SIB. But



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   SIB’s “loans” to Stanford were not disclosed in that section of SIB’s annual reports from 2004

   through 2008, in its quarterly reports to the FSRC or anywhere else. Stanford, Davis, Lopez and

   Kuhrt, with full knowledge of the “loans” to Stanford, prepared, reviewed and authorized the

   filing and dissemination of these false and misleading annual reports.

               47.       Contrary to the representations in the bank’s annual reports that its “only form of

   lending is done on a cash-secured basis solely to existing clients,” SIB exposed investors to the

   risks associated with more than $1.6 billion in unsecured personal “loans” to Stanford.

                                                       Falsification of Financial Statements

               48.       Stanford’s misappropriation of investors’ assets (and the poor performance of

   SIB’s investment portfolio) created a giant hole in SIB’s balance sheet.                                                   To conceal their

   fraudulent conduct and thereby ensure that investors continued to purchase CDs, Davis and

   Stanford, in concert with Lopez and Kuhrt, fabricated the growth, composition and performance

   of SIB’s investment portfolio to give the appearance that the bank’s investments were highly

   profitable.

               49.       In its training materials for the SGC advisers, SIB represented that it earned

   consistent double-digit annual returns on its investment of deposits (ranging from 11.5% in 2005

   to 16.5% in 1993) for almost fifteen years:
                                                          STANFORD INTERNATIONAL BANK
                                                       Return Vs. Interest Paid To Depositors
18.0%
                     16.5%                         15.7%
16.0%                                    15.7%
           14.6%                                             14.9%      14.8%             14.1%
14.0%                          13.9%                                              14.2%               14.3%
                                                                                                               14.0%
                                                                                                                          11.7%             11.5%   12.0%
12.0%
                                                                                                                                  11.9%
10.0%                                                         9.7%
                                                   9.5%                 9.1%
           8.3%                          8.4%                                     8.5%      8.5%      8.4%
8.0%                 8.0%      7.8%                                                                             7.7%                         6.7%
                                                                                                                                                     6.7%
6.0%                                                                                                                      6.2%      6.0%

4.0%

2.0%

0.0%
        1992      1993      1994      1995      1996      1997       1998      1999      2000      2001      2002      2003      2004      2005     2006


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         50.      SIB marketed the CD using these purported returns on investment.

         51.      SIB claimed that its high returns on investment allowed it to offer significantly

higher rates on the CD than those offered by U.S. banks. For example, SIB offered 7.45% as of

June 1, 2005, and 7.878% as of March 20, 2006, for a fixed rate CD based on an investment of

$100,000. On November 28, 2008, SIB quoted 5.375% on a 3-year flex CD, while U.S. bank

CDs paid under 3.2%.

         52.      In SIB’s Annual Reports, SIB told investors that the bank earned from its

“diversified” investments approximately $642 million in 2007 (11%), and $479 million in 2006

(12%).

         53.      SIB’s investment income included in its annual reports was fictional.         In

calculating SIB’s investment income, Stanford and Davis typically provided to SIB’s internal

accountants, including Lopez and Kuhrt, a predetermined return on investment for the bank’s

portfolio. Using this predetermined return, SIB’s accountants, including Lopez and Kuhrt,

reverse-engineered the bank’s financial statements.          After they calculated the fictional

investment income and asset growth and received Stanford and Davis’ approval, Kuhrt and

Lopez created and booked false accounting entries.

         54.      Through their actions, Stanford, Davis, Lopez and Kuhrt caused SIB to report

investment income that the bank did not actually earn and, thereby, greatly inflated the value of

its investment portfolio. Specifically, Stanford, Davis, Lopez and Kuhrt prepared and reviewed

SIB’s financial statements, including the annual reports that were provided to investors and

posted on the bank’s website.




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         55.      To hide the fabrication of SIB’s double-digit annual returns on investment, Davis,

Lopez and Kuhrt developed and implemented an elaborate and complex set of protocols for

handling SIB financial information in which: (i) all SIB-related financial and other information

was transferred to thumb drives and then deleted from servers located in the United States; (ii)

back-up files were kept on a portable hard drive referred to as “the football;” (iii) paper SIB-

related files were regularly flown to Antigua via Stanford’s private jets, where they were burned;

and (iv) electronic spreadsheets used to prepare the fraudulent financials were protected with

passwords that were distributed via text message (to avoid detection on email servers).

         56.      Between February 2 and February 6, 2009, Stanford and Davis admitted,

following a meeting with a core group of senior executives (including Pendergest-Holt) in

Miami, Florida, that they had falsified SIB’s financial statements.

                Misrepresentation of Capital Infusions and Bogus Real Estate Transactions

         57.      As world financial markets experienced substantial declines in 2008, it became

apparent to Stanford and Davis that SIB could not credibly report investment profits in the 11%

to 15% range (as it had done in previous years). Stanford and Davis agreed that SIB would for

the first time show a “modest” loss to avoid raising too many red flags. In other words, they

wanted to tell a “more believable lie.”

         58.      Stanford and Davis knew that reporting a loss would cause SIB to fall below

minimum regulatory capital requirements. Accordingly, Stanford informed Davis and other

employees that he, in an effort to assure investors that SIB was financially sound, would

contribute capital to the bank in two infusions of $200 million and $541 million. SIB touted the

$541 million capital infusion to investors in a December 2008 report:

         Although our earnings will not meet expectations in 2008, Stanford International
         Bank Ltd. is strong, safe and fiscally sound. We have always believed that


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         depositor safety was our number one priority. To further support the Bank’s
         growth and provide a strong cushion for any further market volatility, the Bank’s
         Board of Directors made a decision to increase the Bank's capital by $541 million
         on November 28, 2008. This contribution brings total shareholder equity to
         $1,020,029,802 with a capital to assets ratio of 11.87% and a capital to deposits
         ratio of 13.48%.

         59.      Stanford, Davis and Pendergest-Holt approved the December 2008

Monthly Report.

         60.      The purported capital infusions by Stanford were backdated, fictitious and

engineered to give the appearance that SIB had achieved “desired” levels of capital.

         61.      Stanford, Davis, Lopez and Kuhrt considered two alternatives for disguising the

fictitious capital contributions.           First, Kuhrt and his subordinates proposed a massive

restructuring project in which Stanford would contribute personal holdings, including most of his

real estate and global banking interests, to SIB as “capital.” When one of Kuhrt’s subordinates

complained that the task could not be completed on the required timeline, and that the value of

the companies to be contributed to SIB would have to be impaired first because “none of them

had ever turned a profit,” Stanford, Davis, Kuhrt and Lopez turned to another strategy.

         62.      In December 2008, well after Stanford had purportedly infused the $200 million

and $541 million in additional capital into SIB, Stanford, Davis, Lopez and Kuhrt concocted

another scheme.        Stanford, Davis, Lopez and Kuhrt approved and implemented a scheme

whereby they “papered” a series of fraudulent round-trip real estate transactions utilizing

undeveloped Antiguan real estate acquired by SIB in 2008 for approximately $63.5 million (or

roughly $40,000 per acre).

         63.      To give the appearance that the above-referenced capital infusions actually

occurred, Stanford, Davis, Kuhrt and Lopez falsified accounting records to give the appearance

that:


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         •     SIB sold the Antiguan real estate to several newly-created Stanford-controlled entities

               at the original cost of $63.5 million (although there is no evidence that Stanford paid

               SIB the $63.5 million);

         •     the Stanford-controlled entities, at Stanford and Davis’s instruction, immediately

               wrote-up the value of the real estate to approximately $3.2 billion dollars (or $2

               million per acre), thereby exponentially increasing the value of the entities’ stock;

         •     in an effort to satisfy a portion of Stanford’s personal debt to SIB, Stanford

               contributed to SIB $1.7 billion of the fraudulently-inflated stock (using the inflated $2

               million per acre valuation);

         •     Stanford then contributed to SIB additional stock in the real estate holding companies

               valued at $200 million and $541 million (again using the inflated $2 million per acre

               valuation) to fund the backdated capital contributions.

         64.      These transactions did not infuse real capital into SIB. In fact, the entire process

was fabricated after the reported capital contributions allegedly occurred.             Moreover, the

purported transactions do not validate the capital infusion claims because the inflation in value of

the real estate from $40,000 to $2 million per acre was not justifiable under applicable U.S. or

international accounting principles. SIB did not secure an appraisal and had no other reasonable

support for such a drastic increase in value.        And the transactions among Stanford-controlled

entities were not the kind of arm’s-length transactions required to justify a 5000% increase in

value. Nevertheless, on a mere promise from Stanford that the land would appraise for over $3

billion, Stanford, Davis, Kuhrt and Lopez used $63.5 million of real estate to plug a multi-billion

dollar hole in SIB’s balance sheet and wipe-out a portion of Stanford’s billions in debt owed to

SIB.



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         65.      Stanford, Davis, Kuhrt and Lopez, by virtue of their participation in the purported

real estate transactions, knew that: (i) Stanford did not make a $541 million capital infusion into

SIB; and (ii) the value of the real estate used to support the purported cash infusion was

approximately $63.5 million, not $3.2 billion.

         66.      Following Stanford, Davis, Lopez and Kuhrt’s creation of the fraudulent capital

infusions, the largest segment of the bank’s investment portfolio would have been $3.2 billion in

over-valued real estate.         Yet, SIB did not disclose the transactions in its December 2008

newsletter, which touted Stanford’s purported capital infusion. Moreover, Stanford’s real estate

investments were wholly inconsistent with SIB’s representations to investors regarding SIB’s

investment portfolio (i.e., marketable securities and no real estate).

                 Misrepresentations Regarding Management of SIB’s Investment Portfolio

         67.      Prior to making investment decisions, prospective investors routinely asked how

SIB safeguarded and monitored its assets. Investors frequently inquired whether Stanford could

“run off with the money.”

         68.      In response to this question, at least during 2006 and much of 2007, Pendergest-

Holt trained SIB’s senior investment officer (“SIO”) to tell investors that the bank’s multi-billion

dollar portfolio was managed by a “global network of portfolio managers” and “monitored” by a

team of SFG analysts in Memphis, Tennessee. In communicating with investors, the SIO

followed Pendergest-Holt’s instructions, telling investors that SIB’s entire investment portfolio

was managed by a global network of money managers and monitored by a team of 20-plus

analysts.

         69.      Neither Pendergest-Holt nor the SIO disclosed to investors that SIB segregated its

investment portfolio into three tiers: (i) cash and cash equivalents (“Tier 1”); (ii) investments



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with “outside portfolio managers (25+)” that were monitored by the SFG analysts (“Tier 2”); and

(iii) undisclosed assets managed by Stanford and Davis (“Tier 3”). As of December 2008, Tier 1

represented approximately 9% ($800 million) of SIB’s portfolio. Tier 2, prior to the bank’s

decision to liquidate $250 million of investments in late 2008, represented approximately 10% of

the portfolio. And Tier 3 represented approximately 80% of SIB’s investment portfolio.

         70.      Neither Pendergest-Holt nor the SIO disclosed that the bank’s Tier 3 assets were

managed and/or monitored exclusively by Stanford and Davis. Likewise, they did not disclose

that Stanford and Davis surrounded themselves with a close-knit circle of family, friends and

confidants, thereby eliminating any independent oversight of SIB’s assets.

         71.       Neither Pendergest-Holt nor the SIO disclosed to investors that the “global

network” of money managers and the team of analysts did not manage any of SIB’s Tier 3

investments and, in reality, only monitored approximately 10% of SIB’s portfolio. In fact,

Pendergest-Holt trained the SIO “not to divulge too much” about the oversight of SIB’s portfolio

because that information “wouldn’t leave an investor with a lot of confidence.” Likewise, Davis

instructed the SIO to “steer” potential CD investors away from information about SIB’s

portfolio.

                        Misrepresentation That SIB Was “Stronger” Than Ever Before

         72.      On January 10, 2009, Stanford, Davis and Pendergest-Holt spoke to SGC’s Top

Performer’s Club (a collection of high performing Stanford financial advisers) in Miami, Florida.

         73.      During the meeting, Davis stated that SIB was “stronger” than at any time in its

history. Stanford, Davis and Pendergest-Holt represented that SIB was secure and built on a

strong foundation, and that its financial condition was shored up by Stanford’s capital infusions.




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         74.      But Davis failed to disclose that he had been informed only days earlier by the

head of SIB’s treasury that, despite SIB’s best efforts to liquidate Tier 2 assets, SIB’s cash

position had fallen from the June 30, 2008 reported balance of $779 million to less than $28

million.

         75.      Stanford and Davis failed to disclose to the SGC sales force that: (i) Stanford had

misappropriated more than $1.6 billion of investor funds; (ii) SIB’s annual reports, financial

statements and quarterly reports to the FSRC were false; (iii) hundreds of millions of dollars of

SIB investors’ funds had been invested in a manner inconsistent with the bank’s offering

documents (i.e., private equity and real estate); and (iv) the purported 2008 capital infusions by

Stanford were a fiction.

         76.      During her speech, Pendergest-Holt, after being introduced as SFG’s chief

investment officer and a “member of the investment committee of the bank,” answered questions

about SIB’s investment portfolio. In so doing, she failed to disclose to attendees that she and her

team of analysts did not manage SIB’s entire investment portfolio and only monitored

approximately 10% of the bank’s investments. She also failed to disclose that SIB had invested

investors’ funds in a manner inconsistent with the bank’s offering documents (i.e., private equity

and real estate).

         77.      Stanford, Davis and Pendergest-Holt also failed to disclose that on or about

December 12, 2008, Pershing, LLC, SGC’s clearing broker-dealer, informed SGC that it would

no longer process wire transfers from SGC to SIB for the purchase of the CD, citing suspicions

about SIB’s investment returns and its inability to get from the bank “a reasonable level of

transparency” into its investment portfolio.




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         78.      Stanford, Davis and Pendergest knew that SGC advisers would use the

information provided to them during the Top Performer’s Club meeting to sell CDs.

                              Exposure to Losses From Madoff-related Investments

         79.      In the December 2008 Monthly Report, SIB told CD investors that the bank “had

no direct or indirect exposure to any of [Bernard] Madoff’s investments.”

         80.      Contrary to this statement, Stanford, Davis and Pendergest-Holt knew, prior to the

release of the Monthly Report, that SIB had exposure to losses from investments with Madoff.

         81.      On December 12, 2008, and again on December 18, 2008, Pendergest-Holt

received e-mails from Meridian Capital Partners, a hedge fund with which SIB had invested,

detailing SIB’s exposure to Madoff-related losses.

         82.      On December 15, 2008, an SFG-affiliated employee notified Pendergest-Holt and

Davis that SIB had exposure to Madoff-related losses in two additional funds through which SIB

had invested.       That same day, Davis, Pendergest-Holt and others consulted with Stanford

regarding the bank’s exposure to Madoff-related losses.

         83.      Stanford, Davis and Pendergest-Holt never corrected this misrepresentation in the

December 2008 monthly report.

                                   Leroy King’s Role in the Fraudulent Scheme

         84.      Leroy King was the administrator and chief executive officer of the FSRC, which

is charged with the regulation and supervision of all offshore banks licensed in Antigua,

including SIB.

         85.      From at least February 2005, and continuing over a multi-year period, Stanford

paid to King thousands of dollars in bribes, using money transferred from SIB to a Stanford-




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controlled account at the Bank of Antigua, an onshore Antiguan bank owned and controlled by

Stanford. King caused certain of these bribes to be deposited into U.S. bank accounts.

         86.      In addition to the cash payments, Stanford gave to King and his wife significant

non-cash benefits, including: (i) use of Stanford’s fleet of private jets to travel throughout the

United States and the Caribbean; (ii) use of an SIB corporate car; and (iii) 2004 Super Bowl

tickets for King and a companion. Stanford subsequently hired King’s Super Bowl companion

as a human resources project manager in Houston.

         87.      In exchange for the bribes, King facilitated SIB’s fraud by obstructing the SEC’s

investigation into SIB and abdicating the FSRC’s oversight responsibilities.

         88.      On June 21, 2005, King, in response to an inquiry from the SEC, represented to

the SEC staff that the FSRC had examined SIB and based on its examinations had concluded that

“any further investigation of ‘possible’ fraudulent activities of [SIB] was unwarranted.” King

continued by saying that “it is the opinion of the FSRC that [SIB] has conducted its banking

business to date in a manner the FSRC considers to be fully compliant.” King had no basis for

these representations. In exchange for the bribes from Stanford, King promised that the FSRC

would not audit SIB’s investment portfolio. In fact, on at least one occasion in or about May

2003, King removed from an examination of an SIB affiliate an inquisitive FSRC employee that

“got too close to the fire.”

         89.      King also provided Stanford access to the FSRC’s confidential regulatory files,

including written requests by the Commission’s staff for information regarding SIB.            For

example, on September 25, 2006, the Commission’s staff faxed a letter to King requesting the

FSRC’s assistance with its investigation of SIB. That same day, Stanford, Davis, and SFG’s




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general counsel discussed the Commission letter and outlined for King precisely how they

wanted him to respond to the Commission staff’s request.

         90.      On October 10, 2006, King did as Stanford instructed, sending a letter to the

Commission’s staff that tracked the response dictated by Stanford, Davis and SFG’s general

counsel. King’s letter falsely stated: “We wish to assure the SEC that the FSRC’s most recent

onsite examination conducted just five months ago confirmed [SIB’s] compliance with all areas

of depositor safety and solvency, as well as all other applicable laws and regulations. The FSRC

has further confirmed through its continuous visits and supervision of [SIB] that there are no

other issues or matters of concern with [SIB.]” In fact, King knew there was no basis for this

assurance.

         91.      At or around the same time King was responding to the above-referenced

inquires, Stanford and King, in concert with others, withheld information from the SEC, citing

reliance on inapplicable bank secrecy laws in Antigua.

         92.      During the same time period that King was accepting bribes from Stanford, the

FSRC’s website assured potential investors that the regulator conducted annual on-site

examinations of all Antiguan offshore banks (like SIB) to determine their solvency, to review the

quality of their investments and to verify the accuracy of their returns. The FSRC’s website also

told investors that it performed “continuous off-site supervision in the form of an analysis of

quarterly returns and annual audited financial statements, with follow-up on prescribed

corrective actions.” King knew that these representations were false with regard to the FSRC’s

“oversight” of SIB.

         93.      King, by virtue of the FSRC’s review of SIB’s market materials and annual

reports, was also aware that SIB touted that the bank was subject to the FSRC’s audits,



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regulatory inspections, and licensing requirements. He knew that these representations were

false. Moreover, SIB, SGC and SFG employees regularly told investors that their CDs were safe

because of the FSRC’s audits, misrepresentations that would have been publicly debunked but

for King’s misconduct.

SGC and SCM’s Fraudulent Mutual Fund Sales

         94.      From 2004 through 2009, SGC and SCM induced clients, including non-

accredited, retail investors, to invest in SAS, a proprietary mutual fund wrap program, by touting

a fraudulent track record of “historical performance.”

         95.      SGC/SCM highlighted the purported SAS track record in thousands of client

presentation books (“pitch books”). For example, the following chart from a 2006 pitch book

presented clients with the false impression that SAS accounts, from 2000 through 2005,

outperformed the S&P 500 by an average of approximately 13 percentage points:




         96.      SGC/SCM used these performance results to grow the SAS program to over $1

billion in 2008.

         97.      SGC/SCM also used the SAS track record to recruit financial advisers with

significant books of business away from competitors. After arriving at Stanford, the newly-hired

financial advisers were incentivized to put their clients’ assets in the CD.




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         98.      Other than the fees paid by SIB to SGC/SCM for CD sales, SAS was the most

significant source of revenue for SGC/SCM.              In 2007 and 2008, SGC/SCM received

approximately $25 million in fees from the marketing of SAS.

         99.      The SAS performance results used in the 2005 through 2009 pitch books were

fictional and/or inflated. SGC/SCM misrepresented that SAS performance results, for 1999

through 2004, reflected “historical performance” when, in fact, those results were fictional, or

“back-tested,” numbers that did not reflect the results of actual trading.

         100.     SGC/SCM, with the benefit of hindsight, picked mutual funds that performed

extremely well from 1999 through 2004, and presented the performance of those top-performing

funds to potential clients as if they were actual returns earned by the SAS program.

         101.     SGC/SCM also used “actual” model SAS performance results for 2005 and 2006

that were inflated by as much as 4 percentage points.

         102.     SGC/SCM told investors that SAS had positive returns for periods in which actual

SAS clients lost substantial amounts. In 2000, actual SAS client returns ranged from negative

7.5% to positive 1.1%. In 2001, actual SAS client returns ranged from negative 10.7% to

negative 2.1%. And, in 2002, actual SAS client returns ranged from negative 26.6% to negative

8.7%.

         103.     SGC/SCM’s management knew that the advertised SAS performance results were

misleading and inflated.          And they also knew that the pre-2005 track record was purely

hypothetical.

         104.     As early as November 2006, SGC/SCM investment advisers began to question

why their clients were not receiving the returns advertised in the pitch books. In response to




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these questions, SGC/SCM hired an outside performance reporting expert to review the SAS

performance results.

         105.     In late 2006 and early 2007, the expert informed SGC/SCM that its performance

results for the twelve months ended September 30, 2006 were inflated by as much as 3.4

percentage points.        Moreover, the expert informed SGC/SCM managers that the inflated

performance results included unexplained “bad math” that consistently inflated the purported

SAS performance results over actual client performance. Finally, in March 2008, the expert

informed SGC/SCM managers that the SAS performance results for 2005 were also inflated by

as much as 3.25 percentage points.

         106.     Despite its knowledge of the inflated SAS returns, SGC/SCM management

continued using the pre-2005 track record and never asked the performance expert to audit the

pre-2005 performance. In fact, in 2008 pitch books, SGC/SCM presented the back-tested pre-

2005 performance data under the heading “Historical Performance” and “Manager Performance”

alongside the audited 2005 through 2008 figures. SGC/SCM’s outside consultant testified that it

was “misleading” to present audited performance figures alongside back-tested figures.

         107.     Finally, as indicated the chart below, SGC/SCM blended the back-tested

performance with audited composite performance to create annualized 5 and 7 year performance

figures that bore no relation to actual SAS client performance:




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         108.      As evidence by its use of fictional and/or inflated performance results in the pitch

books, SGC/SCM knowingly misled investors in connection with the sale of SAS.

                                            CAUSES OF ACTION

                                     FIRST CLAIM
                                          AS TO
   SIB, SGC, SCM, STANFORD, DAVIS, PENDERGEST-HOLT, LOPEZ AND KUHRT
             Violations of Section 10(b) of the Exchange Act and Rule 10b-5

         109.     Plaintiff Commission repeats and realleges paragraphs 1 through 108 above.

         110.     SIB, SGC, SCM, Stanford, Davis, Pendergest-Holt, Lopez and Kuhrt, directly or

indirectly, singly or in concert with others, in connection with the purchase and sale of securities,

by use of the means and instrumentalities of interstate commerce and by use of the mails have:

(i) employed devices, schemes and artifices to defraud; (ii) made untrue statements of material

facts and omitted to state material facts necessary in order to make the statements made, in light

of the circumstances under which they were made, not misleading; and (iii) engaged in acts,

practices and courses of business which operate as a fraud and deceit upon purchasers,

prospective purchasers and other persons.


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         111.     As a part of and in furtherance of their scheme, SIB, SGC, SCM, Stanford, Davis,

Pendergest-Holt, Lopez and Kuhrt, directly and indirectly, prepared, disseminated or used

contracts, written offering documents, financial statements, promotional materials, investor and

other correspondence, and oral presentations, which contained untrue statements of material facts

and misrepresentations of material facts, and which omitted to state material facts necessary in

order to make the statements made, in light of the circumstances under which they were made,

not misleading.

         112.     SIB, SGC, SCM, Stanford, Davis, Pendergest-Holt, Lopez and Kuhrt made the

referenced misrepresentations and omissions knowingly or with severe and gross recklessness.

         113.     For these reasons, SIB, SGC, SCM, Stanford, Davis, Pendergest-Holt, Lopez and

Kuhrt have violated and, unless enjoined, will continue to violate Section 10(b) of the Exchange

Act [15 U.S.C. § 78j(b)] and Exchange Act Rule 10b-5 [17 C.F.R. § 240.10b-5].

                                    SECOND CLAIM
     AS TO STANFORD, DAVIS, PENDERGEST-HOLT, LOPEZ, KUHRT AND KING
       Aiding and Abetting Violations of Exchange Act Section 10(b) and Rule 10b-5

         114.     Plaintiff Commission repeats and realleges paragraphs 1 through 108 above.

         115.     If Stanford, Davis, Pendergest-Holt, Lopez and Kuhrt did not violate Exchange

Act Section 10(b) and Rule 10b-5, in the alternative, each in the manner set forth above,

knowingly or with severe recklessness provided substantial assistance in connection with the

violations of Exchange Act Section 10(b) [15 U.S.C. § 78j(b)] and Rule 10b-5 [17 C.F.R. §

240.10b-5] alleged herein. Likewise, King, in the manner set forth above, knowingly or with

severe recklessness, provided substantial assistance in connection with the violations of

Exchange Act Section 10(b) [15 U.S.C. § 78j(b)] and Rule 10b-5 [17 C.F.R. § 240.10b-5]

alleged herein.



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         116.     For these reasons, Stanford, Davis, Pendergest-Holt, Lopez, Kuhrt and King aided

and abetted and, unless enjoined, will continue to aid and abet violations of Section 10(b) of the

Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5 [17 C.F.R. § 240.10b-5].

                                    THIRD CLAIM
                                        AS TO
  SIB, SGC, SCM, STANFORD, DAVIS, PENDERGEST-HOLT, LOPEZ AND KUHRT
                    Violations of Section 17(a) of the Securities Act

         117.     Plaintiff Commission repeats and realleges paragraphs 1 through 108 above.

         118.     SIB, SGC, SCM, Stanford, Davis, Pendergest-Holt, Lopez and Kuhrt, directly or

indirectly, singly or in concert with others, in the offer and sale of securities, by use of the means

and instruments of transportation and communication in interstate commerce and by use of the

mails, have: (i) employed devices, schemes or artifices to defraud; (ii) obtained money or

property by means of untrue statements of material fact or omissions to state material facts

necessary in order to make the statements made, in light of the circumstances under which they

were made, not misleading; and (iii) engaged in transactions, practices or courses of business

which operate or would operate as a fraud or deceit.

         119.      As part of and in furtherance of this scheme, SIB, SGC, SCM, Stanford, Davis,

Pendergest-Holt, Lopez and Kuhrt, directly and indirectly, prepared, disseminated or used

contracts, written offering documents, promotional materials, investor and other correspondence,

and oral presentations, which contained untrue statements of material fact and which omitted to

state material facts necessary in order to make the statements made, in light of the circumstances

under which they were made, not misleading.

         120.     SIB, SGC, SCM, Stanford, Davis, Pendergest-Holt, Lopez and Kuhrt made the

referenced misrepresentations and omissions knowingly or grossly recklessly disregarding the

truth.


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         121.     For these reasons, SIB, SGC, SCM, Stanford, Davis, Pendergest-Holt, Lopez and

Kuhrt have violated, and unless enjoined, will continue to violate Section 17(a) of the Securities

Act [15 U.S.C. § 77q(a)].

                                          FOURTH CLAIM
                      AS TO STANFORD, SGC, AND STANFORD CAPITAL
                     Violations of Sections 206(1) and 206(2) of the Advisers Act

         122.     Plaintiff Commission repeats and realleges paragraphs 1 through 108 above.

         123.     Stanford, SGC and SCM, directly or indirectly, singly or in concert with others,

knowingly or recklessly, through the use of the mails or any means or instrumentality of

interstate commerce, while acting as investment advisers within the meaning of Section 202(11)

of the Advisers Act [15 U.S.C. § 80b-2(11)]: (i) have employed, are employing, or are about to

employ devices, schemes, and artifices to defraud any client or prospective client; or (ii) have

engaged, are engaging, or are about to engage in acts, practices, or courses of business which

operates as a fraud or deceit upon any client or prospective client.

         124.     For these reasons, Stanford, SGC and SCM have violated, and unless enjoined,

will continue to violate Sections 206(1) and 206(2) of the Advisers Act [15 U.S.C. §§ 80b-6(1)

and 80b-6(2)].

                                     FIFTH CLAIM
    AS TO STANFORD, DAVIS, PENDERGEST-HOLT, LOPEZ, KUHRT AND KING
      Aiding and Abetting Violations of Sections 206(1) and 206(2) of the Advisers Act

         125.     Plaintiff Commission repeats and realleges paragraphs 1 through 108 above.

         126.     Based on the conduct alleged herein, Stanford, Davis, Pendergest-Holt, Lopez,

Kuhrt, and King, in the manner set forth above, knowingly or with severe recklessness provided

substantial assistance in connection with the violations of Advisers Act Sections 206(1) and

206(2) [15 U.S.C. §§ 80b-6(1) and 80b-6(2)] alleged herein.



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         127.     For these reasons, Stanford, Davis, Pendergest-Holt, Lopez, Kuhrt, and King

aided and abetted and, unless enjoined, will continue to aid and abet violations of Sections

206(1) and 206(2) of the Advisers Act [15 U.S.C. §§ 80b-6(1) and 80b-6(2)].

                                           SIXTH CLAIM
                                        AS TO SIB AND SGC
                      Violations of Section 7(d) of the Investment Company Act

         128.     Plaintiff Commission repeats and realleges paragraphs1 through 108 above.

         129.     SIB, an investment company not organized or otherwise created under the laws of

the United States or of a State, directly or indirectly, singly or in concert with others, made use of

the mails or any means or instrumentality of interstate commerce, directly or indirectly, to offer

for sale, sell, or deliver after sale, in connection with a public offering, securities of which SIB

was the issuer, without obtaining an order from the Commission permitting it to register as an

investment company organized or otherwise created under the laws of a foreign country and to

make a public offering of its securities by use of the mails and means or instrumentalities of

interstate commerce.

         130.     SGC, directly or indirectly, singly or in concert with others, acted as an

underwriter for SIB, an investment company not organized or otherwise created under the laws

of the United States or of a State that made use of the mails or any means or instrumentality of

interstate commerce, directly or indirectly, to offer for sale, sell, or deliver after sale, in

connection with a public offering, securities of which SIB was the issuer, without obtaining an

order from the Commission permitting it to register as an investment company organized or

otherwise created under the laws of a foreign country and to make a public offering of its

securities by use of the mails and means or instrumentalities of interstate commerce.




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         131.     For these reasons, SIB and SGC have violated, and unless enjoined, will continue

to violate Section 7(d) of the Investment Company Act [15 U.S.C. § 80a-7(d)].

                                           SEVENTH CLAIM
                                      AS TO RELIEF DEFENDANTS

         132.     Plaintiff Commission repeats and realleges paragraphs1 through 108 above.

         133.     Relief Defendants each were recipients, without consideration, of proceeds of the

fraudulent and illegal CD sales alleged herein. Each of these Relief Defendants profited from the

fraud by obtaining illegal proceeds under circumstances in which it is not just, equitable, or

conscionable for them to retain the illegal proceeds. Consequently, each of them has been named

as a Relief Defendant.

         134.     Relief Defendants should disgorge their ill-gotten gains and any other property or

assets purchased with such gains.

                                            RELIEF REQUESTED

         Plaintiff Commission respectfully requests that the Court:

                                                   I.

         Temporarily, preliminarily and permanently enjoin: (i) SIB, SGC, SCM, Stanford, Davis,

Pendergest-Holt, Lopez, Kuhrt, and King from violating, or aiding and abetting violations of,

Section 10(b) and Rule 10b-5 of the Exchange Act; (ii) SIB, SGC, SCM, Stanford, Davis,

Pendergest-Holt, Lopez and Kuhrt from violating Section 17(a) of the Securities Act; (iii) SGC,

SCM, Stanford, Davis, Pendergest-Holt, Lopez, Kuhrt and King from violating, or aiding and

abetting violations of, Sections 206(1) and 206(2) of the Advisers Act; and (iv) SIB and SCG

from violating Section 7(d) of the Investment Company Act.




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                                                     II.

         Order Defendants and Relief Defendants to disgorge an amount equal to the funds and

benefits they obtained illegally as a result of the violations alleged herein, plus prejudgment

interest on that amount.

                                                    III.

         Order civil penalties against Defendants pursuant to Section 20(d) of the Securities Act

[15 U.S.C. § 77t(d)], Section 21(d) of the Exchange Act [15 U.S.C. § 78u(d)], Section 41(e) of

the Investment Company Act [15 U.S.C. § 80a-41(e)], and Section 209(e) of the Advisers Act

[15 U.S.C. § 80b-9(e)] for their securities law violations.

                                                    IV.

         Order such further relief as this Court may deem just and proper.



Dated January 8, 2010                              Respectfully submitted,

                                                    s/ David B. Reece
                                                   STEPHEN J. KOROTASH
                                                   Oklahoma Bar No. 5102
                                                   J. KEVIN EDMUNDSON
                                                   Texas Bar No. 24044020
                                                   DAVID B. REECE
                                                   Texas Bar No. 24002810
                                                   MICHAEL D. KING
                                                   Texas Bar No. 24032634
                                                   D. THOMAS KELTNER
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